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          Exhibit 38
[Embedded Video Submitted to Chambers]
6/16/2017                       BPCA Chairman still refuses to allow public questions at board meeting | BatteryPark.TV We Inform
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    BPCA Chairman still refuses to allow public questions at board meeting
    Posted on May 3, 2016 by Editor

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       BPCA Chairman Dennis Mehiel refusing to allow questions at board meeting




    April 13, 2016­ by Steven E. Greer

    Elected officials demand that BPCA allow public comments at board meetings

    Dennis Mehiel is the unwanted guest who doesn’t know when to leave the party


       Squadron wanting public comments at BPCA board meeting BPCA Town H…




    This entry was posted in ­ Downtown oversight, ­ Politics, ­ State Government, Battery Park City and BPCA. Bookmark the permalink.




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6/16/2017                      BPCA Chairman still refuses to allow public questions at board meeting | BatteryPark.TV We Inform
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